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                  United States Court of Appeals
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 19-5288                                                    September Term, 2020
                                                               FILED: AUGUST 9, 2021

IN RE: APPLICATION OF THE COMMITTEE ON THE JUDICIARY, U.S. HOUSE OF REPRESENTATIVES,
FOR AN ORDER AUTHORIZING THE RELEASE OF CERTAIN GRAND JURY MATERIALS,

COMMITTEE ON THE JUDICIARY, UNITED STATES HOUSE OF REPRESENTATIVES,
                   APPELLEE

v.

UNITED STATES DEPARTMENT OF JUSTICE,
                  APPELLANT


                   On Remand from the Supreme Court of the United States


              Before: ROGERS and RAO, Circuit Judges*

                                       JUDGMENT

       This cause came to be heard on remand from the Supreme Court of the United States,
which, inter alia, vacated this court’s judgment. On consideration thereof, it is

        ORDERED and ADJUDGED that this case be remanded to the District Court with
instructions to vacate the October 25, 2019 order granting the application of the Committee on
the Judiciary, U.S. House of Representatives, in accordance with the Supreme Court’s judgment
in Department of Justice v. House Committee on the Judiciary, 2021 WL 2742772 (Jul 2, 2021).

       The Clerk is directed to issue the mandate forthwith.


                                                           FOR THE COURT:
                                                           Mark J. Langer, Clerk

                                                    BY:    /s/
                                                           Michael C. McGrail
                                                           Deputy Clerk


* Then Circuit Judge Griffith was a member of the panel that decided this case in 2020, but he
did not participate in this judgment. Judges Rogers and Rao have acted as a quorum with respect
to this judgment. See 28 U.S.C. § 46(d).
